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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ROBERT SHEAFFER,

               Plaintiff,

       V.                                                      Case No. 19-cv-03899

GLENDALE NISSAN, INC.                                          Honorable Sara L. Ellis

               Defendant.                              )

                DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION
                   OF TIME TO ANSWER OR OTHERWISE PLEAD

       Pursuant to Federal Rule of Civil Procedure 6(b), Defendant, Glendale Nissan, Inc.

(“Glendale Nissan”), by and through its undersigned counsel, hereby moves for an extension of

time to answer or otherwise plead in response to Plaintiffs Complaint (the “Complaint”). In

support of its motion, Glendale Nissan states as follows:

        1.     Plaintiff filed a Complaint against Glendale Nissan alleging seven causes of action:

(1) violation of the Illinois Whistleblower Act; (2) common law retaliatory discharge; (3) hostile

work environment in violation of Title VII; (4) retaliation in violation of Title VII; (5) violation of

the Illinois Gender Violence Act; (6) violation of the Age Discrimination in Employment Act; and

(7) violation of the Illinois Wage Payment and Collection Act.

       2.      Glendale Nissan was served with the summons and Complaint on June 13, 2019.

Glendale Nissan is required to answer or otherwise plead on or before July 5, 2019.

       3.      Glendale Nissan is still investigating the allegations set forth in the Complaint.

Additionally, counsel for Glendale Nissan is currently preparing for trial in another matter

scheduled to commence in July, Schweihs v. Chase Home Finance, et al. Circuit Court of Cook
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County Case No. 2017 L 6030. Therefore, Glendale Nissan requests an extension of 28 days, to

and including August 2, 2019 to answer or otherwise plead in response to Plaintiffs Complaint.

        4.       Plaintiff has no objection to the request for an extension.

        5.       This is Defendant’s first request for an extension. The request is not meant for the

purpose of undue delay and no party will be prejudiced by this extension.

        WHEREFORE, Defendant, Glendale Nissan, Inc. requests that this Court grant it an

extension of 28 days, to and including August 2, 2019, to respond to Plaintiffs Complaint, and to

grant such further and additional relief as this Court deems just and appropriate.



Dated: June 24, 2019                                    GLENDALE NISSAN, INC.


                                                        By:      A/ Elizabeth M. Pall
                                                                One of Its Attorneys


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